DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

_466-- In re Metropolitan Contract Services and Pioneer Contract _
Services ERISA Litigation

 

 

 

Des scription

 

 

81/03/26: 1 MOTION, BRIEF, SCHEDULE, EXHIBITS A THRU G --
All defendants w/cert. of svc.

SUGGESTED TRANSFEREE DISTRICT: S.D. Texas

SUGGESTED TRANSFEREE JUDGE (ds)

81/04/92 AMENDMENT TO HEARING ORDER FILED MARCH 23, 1981 -- Setting
Motion to transfer A-1 and A-2 for Panel Hearing in Washington,
p. C- on April 30, 1981 (cds)

81/04/06 APPERANCES -- SAMUEL W. HALPERN, ESQ. for Raymond J. Donovan (A~-1)

ROBERT SELLERS SMITH, ESQ. for Billy R. Adock, et al. (A-2);

MORTON L. SUSMAN, ESQ. for Metropolitan Contract Services, Inc.,
Metropolitan Contract Services, Inc., ESOP, Kenneth R.
Cunningham, Wilford H. Hairell, A. Mitchell Robertson, and
Thomas C. Phipps

C. LELAND HAMEL, ESQ. for Pioneer Contract Services, Inc.,
Pioneer Contract Services, Inc., ESOP, Salvador Esparza
and Edward Fritcher

LARRY D. THOMPSON, ESQ. for Mark Perrin and lL. J. Carter

TOM MARTIN DAVIS, JR., ESQ. for Allied Bank of Texas

JAMES E. CLARK, ESQ. for United States Fire Insurance Co. (rew)

81/04/07 REQUEST FOR EXTENSION OF TIME ~- A-1l Raymond J. Donovan --

GRANTED to plaintiff Donovan to and including Apr. 15,

1981. (rew)

81/04/07 REQUEST FOR EXTENSION OF TIME -- Deft. U.S.Fire Ins. Co. --
GRANTED to U.S. Fire Ins. Co. to and including Apr. 15,
1981. (rew)
81/04/14 REQUEST FOR EXTENSION OF TIME -- Plaintiffs Billy R. Adcock
et al. -- GRANTED TO AND INCLUDING 4/15/81 (cds)

81/04//14 RESPONSE/BRIEF -- Deft. United States Fire Insurance
Co. -—- w/fcert. of svc. (emh )

81/04/15 RESPONSE -- Raymond J. Donovan -- w/cert. of serv. and
Exhibit A (cds)

81/04/17 RESPONSE, BRIEF, CERT. OF SVC., EXHIBITS -- Ala. Pltfs.(ea)

Plaintiffs Billy R. Adcock,et al. (ea)

81/04/21 REPLY -- All Defendants -- w/Exhibit A “snd B and cert.
of svc. (emh)

81/04/23) 9 REQUEST FOR EXTENSTON OF TIME TO REPLY TO SECRETARY OF
LABOR -- Movants/Defendants -- w/cert. of service --
GRANTED TO AND INCLUDING APRIL 27, 1981 (cds)

 

 

 
JPML FORM 1A

DOCKET ENTRIES

JUDICTAL PANEL ON MULTIDISTRrCr LDPIGATION

DOCKET NO.

 

 

 

 

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81/04/27 REJOINDER OF MOVANTS TO RESPONSE BY THE TEXAS PLAINTIFF
Defendants/Movants -- w/Exhibits A and B w/cert. of
of service (cds)

81/05/07 ORDER DENYING TRANSFER -- of litiqation (A-1 and A-2)
pursuant to 28 U.S.C. §1407. (emh)

 

 

 

 
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Revised: 8/78
DOCKET NO. 466 ~~ JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: In re Metropolitan Contract Services and Pioneer Contract Services ERISA Litigation

 

 

SUMMARY OF LITIGATION
Hearing Dates Orders Trans feree

4/30/81

 

 

Dates Filed Type Citation District Name of Judge Assigned From

 

5/7/81 MO
(Denied)

 

 

 

Special Transferee Information

DATE CLOSED:

 
LISTING OF INVOLVED ACTIONS

JPML FORM 1

DOCKET NO, 466 --

ERISA Litigation

In re Metropolitan Contract Services and Pioneer Contract Services

 

 

Intra-
Office
Number

Caption

District
and
Judge

Civil
Action
Number

Transfer
Date

Docket
Number

Transferea@Date of

Dismissal
or Remand

 

A-1

 

v. Kenneth
Allied Bank

Raymond J. Donovan, etc.
R. Cunningham, et al. v.
of Texas

Billy R. Adcock, et al. v. Pioneer
Contract Services, Inc., et al.
v. Allied Bank of Texas

S.D.Tex
Singlet«

N.D.Ala
Lynne

 

 

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JPML Form 4

 

 

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 466 -- IN RE METROPOLITAN CONTRACT SERVICES AND PIONEER CONTRACT

SERVICES ERISA LITIGATION

 

 

RAYMOND J. DONOVAN, ETC. (A-1)
Samuel W. Halpern, Esquire

U. S. Department of Labor
P.O. Box 1914

Washington, D.C. 20013

BILLY R. ADOCK, ET AL. (A-2)
Robert Sellers Smith, Esquire
Smith, Huckaby & Graves, P.A.
223 East Side Square
Huntsville, Alabama 35801

METROPOLITAN CONTRACT SERVICES, INC.

METROPOLITAN CONTRACT SERVICES, INC.
ESOP

KENNETH R. CUNNINGHAM

WILFORD H. HAIRELL

A. MITCHELL ROBERTSON

THOMAS C. PHIPPS

Morton L. Susman, Esquire

Susman & Kessler

2290 Two Shelli Plaza

Houston, Texas 77002

PIONEER CONTRACT SERVICES, INC.
PIONEER CONTRACT SERVICES, INC. ESOP
SALVADOR ESPARAZA

EDWARD FRITCHER

C. Leland Hamel, Esquire

Dickerson, Hamel, Early & Pennock
2300 Two Allen Center

Houston, Texas 77002

MARK PERRIN

L. J. CARTER

Larry D. Thompson, Esquire
Lorance & Thompson

303 Jackson Hill, Ste. 300
Houston, Texas 77007

 

ALLIED BANK OF TEXAS

Tom Martin Davis, Jr., Esquire

Butler, Binion, Rice, Cook &
Knapp

1100 Esperson Building

Houston, Texas 77002

UNITED STATES FIRE INSURANCE CO.

James E. Clark, Esquire

London, Yancey, Clark & Allen

2100 First National Southern
Natural Building

Birmingham, Alabama 35203

 
   

JPML FORM 3

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

DOCKET NO. 466 -- In re Metropolitan Contract Services and Pioneer
a ic ation

Name of Par Named as Par in Following Actions

 

Kenneth R. Cunningham

L. J. Carter

Salvatore Esparaza

Edward F. Fritcher

Wilford H. Hairell

Mark W. Perrin

Thomas C. Phipps

Allied Bank of Texas

Pioneer Contract Svc., Inc.

Metro Contract Services,inc

 

 
Pioneer Contract Services
Inc. Employee Stock
Ownership Plan

Metro Contract Services
Inc. Employee Stock
Ownership Plan

United States Fire
Insurance Co.

 
